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                         Exhibit B
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                                                                                         40
                      M.       FABIANO - CONFIDENTIAL
     projections of staff.                Then as    I   was

     familiarizing myself with the position,                         I   was

     asking to see long-term forecasts, capital
     expenditure needs, and assessing from my
     perspective where the gaps were, where the
     shortfalls were, and what was happening to our
     revenue projections.
                           So it started,      I    would say, the
     beginning of 2011, which is the first quarter,
     more towards the end of the first quarter
     where    I    was really focusing on getting up to
     speed on the revenues, the forecast, the
     capacity.

              Q            As far as you know, before you
     became CFO, had the prior CFO examined the
     issue of whether a toll increase was needed
     for The Port Authority?
              A            I    can't answer specifically yes or
     no to that, but             I   can tell you that that CFO
     was involved in the prior one,                  so that is part
     of the analytical process that any CFO would
     go through all the time because, once again,
     long-term view, capacity, spending, and where
     your revenue sources are coming in from all

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                    M.    FABIANO - CONFIDENTIAL
     your line businesses.             So you're looking once
     again at total Port Authority, total capacity,
     and then where your revenue sources are, and
     recognizing that the ITN, from our
     perspective, has always been a drag on The
     Port Authority, has always lagged behind,
     their revenues generated versus the needs of
     the ITN.

                         So that is always in our forefront
     of thoughts of,        okay,     is this toll appropriate
     for the level of investment we're making in
     those facilities.          So,    I   mean, we're always
     thinking that to the degree we increase tolls,
     then we're reducing the drag of the ITN on the
     other facilities.          I   mean, it's a deficit
     business.
              Q          When you were going through the
     process you described in examining the numbers
     and looking at whether a toll increase was
     needed, were you looking at the financial
     projections and financial data for the entire
     Port Authority?
              A          Yes.

              Q          During that process, were you

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                    M.    FABIANO - CONFIDENTIAL
     looking at the line departments that comprise
     the ITN in isolation to see if              a    toll increase
     was necessary?
              A          No.

              Q          In the time that you have been
     comptroller or CFO, you said the ITN has
     always been a drag.
              A          Uh-huh.

              Q          Can you describe, what does that
     mean?

              A          For us, that the revenues
     generated after paying operating expenses and
     the capital requirements and the investments
     needed in the ITN facilities do not generate
     excess revenues to be used elsewhere along The
     Port Authority.           It's not   a   cash cow, from our
     perspective, where we're throwing off cash and
     using that cash across the organization.
              Q          Has The Port Authority done
     analyses that support what you just described?
                                   MR. SOUTHWELL:        Object to
                         the form.     You mean other than
                         what he's just said?          What do you
                         mean by --

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                                                                                        43
                    M.    FABIANO - CONFIDENTIAL
              Q          You've described something, and
     what I'm asking is:           Has The Port Authority
     done analyses that reflect what you've just
     described with respect to ITN revenues?
              A          Periodically we look at what's
     happened with departments.              We don't do it on
     a regular basis or anything.               But it's always
     been known that the toll and fare increases
     have always lagged behind the need, and that's
     always been what everybody has recognized
     because you don't just go and get                a     toll and
     fare increase.         It's after periods of
     sometimes, sometimes years that it takes you
     to get it.       So you've already lost years of
     buying power from when you really needed the
     toll and fare increase to when you actually
     get it.       But formal reporting and documents
     being passed around with here it is,                     it's     a


     loss again,      is not done.
              Q          When you look at, again in the
     context of the ITN being a drag,                 if you look
     at ITN revenues, what are the minuses from ITN
     revenues that you're looking at in coming to
     the conclusion that it's a drag?

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                                                                                    82
                    M.       FABIANO - CONFIDENTIAL
              A          Yes.

              Q          When was that?
              A          Before -- well, we obviously had
     to model it on what the capacity would be,                      so

     it was before the letter when we made the
     notice, what was that, August 5th or
     something?
              Q          There was a press release on
     August 5,     2011.

              A          Right,    so probably the week before
     that,    to begin to run what the models would be
     and the structure would be to figure out the
     sizing of what we would be able to afford.
              Q          Is    it correct that you learned
     what the amount of the toll and fare increase
     would be shortly before the announcement on
     August 5th?
              A          I    told you at least a week,
     because we were running the number.                  Once

     again, many scenario, what if this, what if
     that, and eventually, okay,             if we're going to
     do this, run the numbers and tell us what the
     capacity would be, and it's what we did.
              Q          When you talked about the reasons

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                    M.       FABIANO - CONFIDENTIAL
     for the need for a revenue enhancement, is it
     correct that the coverage ratio was an issue
     for you?

              A          Long term, yes.

              Q          And the capital ratio, was that
     also an issue?
              A          I   don't know what the capital
     ratio is.

              4          I   thought you had said something
     about a capital ratio.            Capital ratio,         is that

     a term that you're familiar with?
              A          No,    it's coverage ratio, the 1.3
     test.

              Q          What is the coverage ratio for the
     1.3 test?
              A          That the future maximum debt
     service year, your net revenues available for
     debt service have to exceed your future
     maximum debt service year by at least 1.3
     times before you're eligible to be able to
     issue additional bonds for new money purposes.
     So in order for them to be able to continue to
     access the capital markets, there's an
     indicator for us.

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                       M.    FABIANO - CONFIDENTIAL
              Q             Where does that come from?
              A             The consolidated bond resolution.
              Q             Are there any other ratios that
     were part of your analysis on the need for
     revenue enhancement for The Port Authority?
              A             We look at various rating agency
     metrics,      I   don't have them in front of me
     right now, but there's three or four metrics
     that we know the ratings agencies are
     concerned with, one being gross revenues to
     total debt outstanding not exceeding five
     times, and things like that.                  So we're aware
     of some of the ratios and we always manage to
     four or five of them.
                            So when we're doing our analysis,
     we see which ones are going to be there over
     our ten-year horizon, try to look ten years
     all the time, and where we might have pressure
     and where ratios may be approaching those
     cutoff points or falling below those points.
              Q             Was the cost of the World Trade
     Center at all part of the analysis of the need
     for revenue enhancement for The Port
     Authority?

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                                                                                      85
                     M.    FABIANO - CONFIDENTIAL
              A           Once again, we do things on                a


     corporate level.          So all the revenues are in
     there from the whole Port Authority, all the
     expenses of the whole Port Authority are in
     there, all the capital expenses of the entire
     Port Authority are in those numbers, and all
     the debt for the entire Port Authority.                         So

     the ratios are built on the entire Port
     Authority and not just on individual
     facilities or departments.
              Q           Are you at all involved in the
     drafting or issuance of press releases for The
     Port Authority?
              A           Not really.     I   look at them for
     any obvious flaws, but nothing.                  I   don't write
     the press releases.
              Q           Do you at times review a press
     release before it's issued for accuracy or for
     some other reason?
              A           Periodically, yes.
              Q           During the time period we've been
     describing, where you and others within your
     department were looking at the need for
     revenue enhancement, were there also analyses

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                     M.       FABIANO - CONFIDENTIAL
                                    MR. SOUTHWELL:      Objection.

                          I    instruct you not to answer on
                          the same basis.
              Q           From August 5th, when a
      $33 billion capital plan was announced, to
      August 19,     2011, were there discussions within
      The Port Authority of how to reduce the
      ten-year capital plan?
                                    MR. SOUTHWELL:      I'm sorry,

                          can you repeat the question?
                                    (Record read.)

                                    MR. SOUTHWELL:      I'm going

                          to object to the form.          It

                          mischaracterizes the testimony
                          with respect to the capital plan.
              Q           You can answer.
              A           I'm not aware of any discussions.
      I   mean, the toll and fare was proposed, the
      size of the capacity envelope was identified,
      and that was the end of it.              I   would not go in
      and say, okay, let's start reducing the
      capacity envelope or what makes up the
      projects that end up in that plan.
              4           Did you make a presentation to the

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                     M.       FABIANO - CONFIDENTIAL
      board of commissioners on August 19,                 2011?

              A           Yes.

              Q           Did you make a presentation in
      both an executive session and public session?
              A           Yes.

              Q           Which came first?
              A           Executive session.
              Q           Were you involved in planning what
      information would go to the commissioners with
      respect to their determination of whether to
      approve a toll increase?
              A           When you're talking about
      determination, if you mean did             I    develop with
      my staff the slides that supported the toll
      and fare increase and the rationale, the
      answer is yes, that was created by my
      departments for me.

              4           Do you know,    in addition to your
      presentation to the commissioners, what
      information was presented to them?
              A           I   assume this was all the
      information presented to them.

              4           Do you know if anything else was
      presented to them?

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                     M.    FABIANO - CONFIDENTIAL
      said was the capacity window.
               Q          Exhibit A is a copy of the
      preliminary capital plan for the ITN?
               A          Exhibit A represents the
      facilities at a facility level and the dollars
      spending by year for the ITN during the period
      2011 to 2020.

               Q          And that's the preliminary capital
      plan for the ITN for that period?
               A          Yes.

               Q          You did not present a $10.786
      billion preliminary capital plan for the ITN
      to the commissioners in August, correct?
               A          Correct.    As   I mentioned earlier,
      this was developed in response to the
      affirmations that the toll revenues that were
      being collected were in excess of the capital
      expenditures and the operating expenses of the
      ITN, and this rebuts -- which is our rebuttal
      to your litigation.
               Q          Had you ever seen a document like
      this prepared within The Port Authority before
      you prepared Exhibit A for this affidavit?
               A          No.

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                     M.       FABIANO - CONFIDENTIAL
                                         MR. SOUTHWELL:       I'm sorry,

                          I   want to state an objection just
                          to the form.            When you say like
                          this, are you referring to                 a


                          capital plan?               When you say like
                          this,      I    guess   I    want it to be
                          clear what you mean by that.
                                         MR. MULRY:       Exhibit A.

              A           A distinct ITN spread.
              Q           Correct.

              A           Right.

                          Can    I   go back and clarify?
              Q           I'm sorry, you're referring to
      Exhibit A?
              A           Exhibit A is an extraction of the
      ITN facilities that make up and comprise,
      during the same period, what we call the
      preliminary $25 billion plan.                      So these are
      the elements that represent the ITN's
      components of that program, or those amounts.
              Q           In effect, would it be correct to
      say Exhibit A is           a   subset of the $25.1 billion
      preliminary capital plan for the entire Port
      Authority?

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                                                                                     155
                     M.    FABIANO - CONFIDENTIAL
              A           That would be correct to say.
              Q           If you could go to Exhibit B.
              A           Yes.

              Q           What is Exhibit B?
              A           Exhibit B is designed to show
      revenues collected, less expenses, less debt
      service payments, less capital paid with cash,
      that we actually paid cash for using reserves,
      what we call reserves, but it's just other
      amounts in the capital fund, and also any debt
      service interest payments.              So it's designed
      to be   a    cash flow of what happened in 2007 to
      2010 in the first column, and then the second
      and third columns are both projected financial
      data, and what this was an attempt to do was
      to say if you try going back to the argument
      that the ITN was generating excessive cash,
      this shows, the middle column, on                a     cash basis
      that the revenues, and this includes the total
      revenues from the toll increase being added in
      up top, plus an assumed CPI increase of $1,                           I



      believe, in 2018 to take effect, less
      operating expense, all this is projections now
      that we do in budgeting, gives you net

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                     M.    FABIANO - CONFIDENTIAL
                          with by the Court,          I   have no

                          further questions with you at this
                          time.

                                  MR. SOUTHWELL:            I   just

                          have a couple of follow-ups.
      EXAMINATION BY
      MR. SOUTHWELL:
              Q           Could you take     a   look at

      Plaintiff's Exhibit 18,          it's the press
      release, the August 5,          2011 press release.
      Directing your attention to the end of the
      first paragraph following the bullets, do you
      see the line that indicates that proposed a
      two-phase toll and fare increase to fully fund
      a   new $33 billion 10-year capital plan.                      Do

      you see that?
              A           Yes.

              Q           You were asked some questions
      about that during Mr. Mulry's examination.                           To

      be clear, would the toll and fare increase, in
      fact, fund $33 billion of capital projects?
              A           No.

              Q           Could you explain that, please?
              A           Sure.   That is incremental revenue

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                                                                                 2 6 8

                     M.    FABIANO - CONFIDENTIAL
      combined with the existing revenues of the
      rest of The Port Authority from all sources
      that would then be able to flow down to be
      able to finance capital.            So all the
      businesses, aviation, port, TB&T in this case,
      PATH, economic development projects such as
      the teleport revenues, the sum total of all
      those revenues that exist right now, plus the
      incremental revenues that would be generated
      by this toll and fare increase, combined give
      me   a capital capacity window over a ten-year
      period of $33 billion agency-wide.                 It's not

      these dollars from this toll and fare
      generates $33 billion capacity.                 It's the

      total Port Authority existing revenue stream,
      plus this incremental revenue stream, because
      our capacity before this was in the
      $20 billion range and this incrementalizes it.
              4           You referred to the overall Port
      Authority capacity and you were asked various
      questions today about the agency's existence
      as   a pooled revenue agency.           Can you explain
      why that's important to a financial picture of
      The Port Authority?

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                                                                                  269
                     M.    FABIANO - CONFIDENTIAL
              A           Well, since 1931, when the general
     bond reserve fund was created, in order to be
      able for The Port Authority to finance
      facilities and take on new facilities and
      projects, they needed to have the revenue of
      the combined existing facilities used to
      convince the bondholders that there was value
      here and,     in fact, they would get paid.
                          So it's always been the pooled
      revenue concept, that is the sum of the whole,
      because many times when a business is starting
      up, their revenues aren't going to be there
      initially to support it, but it's that concept
      of other facilities would support it follow
      such time as it was able to be self-
      sustaining, potentially, or if not, add to the
      mix, recognizing that The Port Authority's
      mission isn't just to generate profit, The
      Port Authority's mission exists to serve the
      public and facilitate transportation, regional
      development, as well as the movement of goods
      and commerce efficiently throughout this
      region, and we are one of the largest
      enterprises that do that,            I   think,   in the

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                     M.    FABIANO - CONFIDENTIAL
      world probably, in such a concentrated area.
                          To us,   PATH will never make          a


      dime.     In fact, even the airports, which looks
      like such money makers now, when they were
      initially acquired, did not make money,
      LaGuardia and Kennedy.            But it was the pooled
      agency concept of using all the money from all
      the existing facilities that,             in fact,

      supported our ability to take them on
      initially and grow those businesses.                 In that

      case,    it panned out.
                          In the case of PATH,        it was never
      going to pan out.            In fact, PATH, for lack of
      a better term, was acquired as part of the
      reason and the authorization to build the
      World Trade Center site.            So when that deal
      was struck, in order for The Port Authority to
      build the original World Trade Center, you
      were going to take on the bankrupt H&M
      railroad.

                          And it's always been, once again,
      not pure business decisions because nobody
      would have taken that on, but it's that pooled
      revenue concept that allows us to say we can

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                     M.    FABIANO - CONFIDENTIAL
      absorb these kinds of projects and these kinds
      of facilities as long as they're part of the
      mix.

              4           And PATH is part of the Interstate
      Transportation Network?
              A           Yes.

              4           Because in part,      in bringing
      people across the Hudson River without using
      the bridges and tunnels?
                                  MR. MULRY:          Objection to
                          form.

              A           Okay.   PATH is part of the
      Interstate Transportation Network because
      those of our commutation facilities.                    The bus

      terminals serve the passengers that go back
      and forth for business, the automobiles and
      the trucks are the business that use the
      tunnels and bridges, the ferries are also the
      passengers that are going back and forth, and
      the PATH is also passenger related.                   So those

      are different than an airport business.                      This

      is strict commutation kind of work, it's
      strictly business to business, back and forth
      with the trucks delivering.             So all of those

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